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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                       )
 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
        v.                                             )       Civil Action No. 20-1580 (RCL)
                                                       )
 JOHN R. BOLTON,                                       )
                                                       )
                Defendant.                             )
                                                       )

                 NOTICE OF LODGING CLASSIFIED DECLARATIONS

       Plaintiff, the United States of America, by and through its attorneys, respectfully provides

notice that on this date counsel for the United States lodged for secure storage with the U.S.

Department of Justice Litigation Security Group the classified declarations of Michael Ellis and

William R. Evanina. The classified declarations, which can be made available to the Court by a

Classified Information Security Officer for its ex parte review in camera, were submitted in

support of the United States’ Emergency Application for Temporary Restraining Order and Motion

for Preliminary Injunction filed this same date.



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Dated: June 17, 2020                  Respectfully submitted,

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